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Attomeys for Plaintiff

                       IN THE THIRD DISTRICT COURT
                     SALT LAKE COUNTY, STATE OF UTAH
 AAA Law PC, dba Steffensen Law
 Office; and Brian W. Steffensen
                                              First Amended
     PIaintiffs,                              Complaint - ERRATA
 vs.
                                              CivilNo. 190905179
 Duffy Jay Williams, individually and dba
  CUT USA and Williams General, Inc.;         Judge James Gardner
 CUT USA, a dissolved Utah Corporation;
 Williams General, Inc., a dissolved Utah
   Corporation;
 Scott Williams;
 Estate ofHugh Williams;
 Does1 - 50.

       For their claims for relief against the Defendants, Plaintiffs allege and aver
as follows:


                                Jurisdiction and Venue

1.       This Court has subject matter jurisdiction ofthe claims alleged below

         pursuant to the provisions ofSection §78A-5-102(1), Utah Code.

2.       This Court has personal jimsdietion over Defendants pursu^it to §78B-3-

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                                                                                  EXHIBIT
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     205(1), Utah Code, in that Defendants transacted business within this State

     and claims arise from that transaction ofbusiness.

     Venue is properly laid before the Third Judicial District Court, Summit

     County, pursuant to the provisions ofSection §78B-3-307(l)(a), Utah Code,

     in that the causes of action alleged below arose within said District's

     boundaries.

                         GENERAL ALLEGATIONS

4.   AAA Law PC is a Utah professional corporation doing business as

     Steffensen Law and/or Steffensen Law Office ("AAA").

5.   Brian W. Steffensen is an individual residing in Salt Lake County, Utah.

6.   Duffy Jay Williams is an individual whose present address is unknown to

     the Plaintiffs, but who has been a resident ofUtah when he has not been

     living in Uganda, Africa ("Williams").

7.   CUT USA is a dissolved Utah corporation ("CUT USA"). Due to its

     dissolution, all acts taken by Williams which purported to be for and on

     behalfofCUT USA were in actuality done by Williams dba CUT USA.

8.   Williams General, Inc. Is also a dissolved Utah corporation ("Williams

     General"). Due to its dissolution, all acts taken by Williams which

     purported to be for and on behalfofWilliams General were in actuality

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      done by Williams dba Williams General.

9.    Scott Williams is a resident of Salt Lake County, Utah and personal

      representative and/or tmstee ofthe Estate ofHugh Williams ("Scott").

10.   The Estate ofHugh Williams is the estate left upon the death ofHugh

      Williams and administered by Scott Williams (the "Estate").

11.   Does 1-50 are liable to Plaintiffs but whose identifies and the details oftheir

      involvement are not presently known to the Plaintiffs. Plaintiffs will amend

      their Complaint as and when such information becomes available.

12.   In approximately 2014, Steffensen was involved in a business whose

      address was near to the then business address ofWilliams - and the frwo

      became acquainted.

13.   Williams informed Steffensen that Williams had spent a significant amount

      oftime in African pursuing business ventures. Williams retained AAA and

      Steffensen to represent Williams in connection with an agreement from an

      individual who provided funds for Williams to retum to Africa and to

      ostensibly start a gold buying and selling business.

14.   Steffensen represented Williams and negotiated and drafted the agreements

      with this investment/joint venture partner. Williams promised to pay

      AAA's and Steffensen's legal fees from the profits from the gold buying

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      and selling venture.

15.   Williams then went to Africa and was gone for many months.

16.   Williams was renting to own a property from James and Arlene Brannan

      located in Woods Cross, Utah (the "Brannan Woods Cross Property").

17.   While Williams was gone, he obtained word that James Brannan was

      accessing Williams' rented portion ofthe Brannan Woods Cross Property

      and going through Williams' personal property found thereon - taking

      some, damaging others, etc.

18.   Williams retained AAA and Steffensen to file a lawsuit in 2015 against

      James and Arlene Brannan, in the Second District Court, Civil No.

      150700878 (the "Brannan Law Suit").

19.   Williams represented to Steffensen and AAA that his businesses in Africa

      were very promising and that he could and would be able to pay AAA's and

      Steffensen's legal fees for handling the Brannan Law Suit.

20.   The Brannan's counterclaimed for rent owed and tried to evict Williams.

      This was difficult to deal with because Williams was still in Africa and

      unable to handle things that needed to be done here.

21.   The parties ultimately mediated and reached a settlement agreement.

22.   Williams retumed from Africa and infomied Steffensen that Williams had

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      become acquainted with a young African girl who was homeless and that he

      was trying to adopt her and bring her to America.

23.   Williams had a business ofbuying various types ofproperty at a deep

      discount and reselling it. The property in Woods Cross was full of such

      items. Williams told Steffensen that Williams would give Steffensen a

      UCC1 Uen against all ofthat property and the like to secure the repayment

      ofthe attomeys fees and costs advanced owed by Williams to AAA and

      Steffensen. A UCC1 was then filed with the Utah Division of Corporations
            "AAA Lien").
      (he

24.   Williams told AAA and Steffensen that he could buy items in the United

      States and then ship them to Africa and sell them for a substantial profit. He

      represented and warranted that he could and would liquidate the items

      which he had and would pay Steffensen's and AAA's legal fees.

25.   Williams told Steffensen that Williams owned two govemment surplus

      trailers worth $17,000 each and asked Steffensen ifSteffensen would be

      willing to buy them for $10,000 each. Williams said that Williams would

      then advertise them for sale and try to sell them for the full price of $17,000

      and thereby help Steffensen make some money. Steffensen agreed and

      advanced $20,000 to Williams. However, Steffensen has subsequently

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      leamed that Williams never put title to any trailers in Steffensen's name and

      when Steffensen demanded the Williams sell them as he promised, Williams

      said that he tried but got no offers for more than $5,000 per trailer and those

      fell through. Clearly, Williams knew that the trailers were not in fact worth

      $17,000 each when he sold them to Steffensen.

26.   When Steffensen inquired as to why the gold buying venture had not

      worked, Williams admitted that he had taken a substantial part ofhis

      partner's investment capital and used it to pay monies owed by Williams on

      some real estate and other obligations. This left the gold buying enterprise

      short ofcapital and it did not succeed. Williams admitted to Steffensen that

      when he told is investor that he would use the entire business capital for the

      gold buying business, Williams planned to in fact use part ofthose funds for

      the other purposes outlined above. Clearly, Williams committed fraud

      against that investor/joint venture partner.

27.   Williams assured Steffensen that he had multiple projects in Africa that

      would be successful.

28.   Williams went back to Africa.

29.   In order to stop the Brannan Lawsuit and ensure an orderly liquidation of

      Williams' assets, Williams retained Steffensen to file a bankmptcy petition.

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30.   Steffensen filed an initial bankruptcy petition for Williams. AAA and

      Steffensen emailed draft copies ofthe schedules and asked Williams to

      verify their accuracy. Williams did.

31.   However, Williams was still in Africa when the time for his 341 hearing

      came. This forced Steffensen to file a motion to reschedule that hearing.

32.   Williams indicated that he was still going to be unable to retum to the

      United States.

33.   So, Williams acquiesced in the dismissal ofthat first bankruptcy.

34.   Because Williams owed AAA and Steffensen so much money for attomeys

      fees, AAA and Steffensen moved to withdraw as counsel in the Brannan

      Lawsuit - and were allowed to withdraw.

35.   Later, Williams filed another bankruptcy pro se and prepared his own

      schedules. It appears to Steffensen that Williams used the schedules and

      forms which AAA had prepared previously for Williams.

36.   Steffensen thereafter continued to communicate with Williams in an attempt

      to get payment for legal fees and other financial obligations.

37.   During one or more ofthese conversations, Williams said that the monies

      that he diverted from the gold buying venture paid up (or off) certain very

      valuable real property in Africa that Williams said that he intended to sell

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      and repay his investor and AAA/ Steffensen. He represented that as soon as

      he sold that property, Williams would pay AAA's and Steffensen's fees and

      other obligations.

38.   Steffensen continued to inquire about that status. Williams told Steffensen

      that Williams could not get the title in his name unless he paid certain funds.

      Williams said that if Steffensen advanced those funds, Williams would be

      able to get the real property fully titled in his name so that he could sell it,

      etc. Steffensen agreed to advance those funds with the promise from

      Williams that Williams would promptly market the property and pay AAA

      and Steffensen.

39.   Williams then told Steffensen that the property was "perfect" for a hotel and

      that he was having plans drafted up. He said that with plans drafted, the

      property and plans together would sell for more money. Williams asked

      Steffensen to advance the monies to pay to complete the architectural plans

      and drawings for the hotel.

40.   Williams also needed to retum to the United States on two occasions for

      court matters and told Steffensen that Williams did not have the money to

      pay for his tickets back. Steffensen said that he could advance the funds but

      had to be repaid immediately because those were not "excess" funds, but

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      needed to pay current Steffensen obligations. Williams represented and

      warranted that he had property in Woods Cross that he could sell

      immediately upon his retum to the U.S. and would pay Steffensen back

      immediately.

41.   Williams did not sell the personal property in the United States and did not

      repay Steffensen.

42.   Williams did not sell the African real property and pay AAA and Steffensen

      as promised - or ifhe did sell it, he hid that fact from Steffensen and spent

      the proceeds elsewhere - like he did with the gold buying business

      investor's funds.

43.   Williams' father, Hugh Williams, recently passed away leaving an estate of

      which Williams is an heir.

44.   Williams retumed from another long stay in Africa to participate in the

      disposition ofHugh Williams' Estate.

45.   Steffensen is informed that Williams stands to inherit several hundred

      thousand dollars. Williams indicated that he intended to take the money and

      retum immediately to Africa. Williams, as always, told Steffensen that

      Williams had several great projects and would be able to pay Steffensen
      "$30,000 this summer."


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46.   Steffensen said he wanted not less than $100,000 (the total due is not less

      than $200,000). Williams refused to commit.

47.   Steffensen asked Williams about the AAA Lien against the personalty in

      Woods Cross. Williams said that the lien was invalid because all ofthe

      property was owned by Williams General and not Williams personally.

      Clearly, Williams defrauded Steffensen via the representations and

      warranties relating to the AAA Lien.

48.   Until Thursday, July 11,2019, Williams had not answered any phone calls

      or emails from Steffensen during the past two months and his present

      whereabouts are unknown.

49.   When this lawsuit was filed, Plaintiffs alleged that ifWilliams obtained his

      inheritance, Williams will do as he promised and immediately travel to

      Africa and fritter it away and AAA and Steffensen will be unable to collect.

50.   Williams is a serial con artist - a very sympathetic appearing and

      convincing one - but a con artist nevertheless.

51.   AAA and Steffensen have suffered actual damages as a result ofthe actions

      ofWilliams, CUT USA and Williams General, ofnot less than $200,000.00

      for attomeys fees and costs advanced unpaid, and monies advanced and

      unpaid, all ofwhich bears interest at 10% per annum from the date due until

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      paid in full.

52.   Every representation/ promise made by Williams to AAA and to Steffensen

      were not then presently true and Williams knew that they were not tme:

      a.     Williams knew that the Gold Buying business would not work

             because he intended to divert money away from it - so his

             representation to AAA and Steffensen that they would be paid for

             legal fees, costs advanced, etc., from that business were knowingly

             false. Williams knew that the business would fail - but went to

             Africa, upon information and belief, not to actually do that Gold

             Buying business, but to pay monies toward the real property

             referenced above.

      b.     When Williams represented to and promised AAA and Steffensen

             that they would have a UUC1 lien on all ofthe personal property in

             Woods Cross, Williams knew that he did not own that property such

             that the promised lien was a fraud.

      c.     Or, when AAA and Steffensen threatened to foreclose upon the AAA

             Lien, Williams falsely represented that the property was owned by

             Williams General in an attempt to thwart AAA's and Steffensen's

             collection efforts.

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      d.     When Williams made the representations about the monies needed to

             record title to the African property, and then regarding the

             architectural drawings, and that he would promptly sell that property

             and pay AAA and Steffensen were knowingly false because Williams

             had not present intention to do so.

      e.     When Williams represented that he could and would be able to repay

             the monies advanced by Steffensen for airline tickets back to the

             United States, Williams knew that he could not in fact do so.

      f.     All ofWilliams' representations about the purported sale to

              Steffensen ofthe two trailers were knowingly false.

53.   Williams therefore has defrauded AAA and Steffensen via knowing and/or

      at the very least negligent misrepresentations.

54.   AAA and Steffensen are entitled to a judgment against Williams, CUT and

      Williams General for the amount ofmonies owed for legal fees, costs

      advanced and other monies advanced, in amounts to be detennined at trial,

      but not less than $200,000.00, plus interest thereon at 10% per annum, plus

      costs of suit, attomeys fees, and exemplary damages in an amount to be

      determined at trial but not less than three times actual damages.

55.   AAA is entitled to an order declaring that its AAA Lien is valid and

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      enforceable against the property named therein.

56.   AAA and Steffensen are entitled to an order declaring that they have an

      equitable lien against any and all real property owned by Williams, directly

      or indirectly, in Africa to secure the repayment ofthe funds owed.

57.   AAA and Steffensen are entitled to prejudgment writs ofattachment and/or

      gamishment with respect to (a) Williams' anticipated inheritance from the

      Estate ofHugh Williams (Scott Williams tmstee/ personal representative),

      (b) all personal property covered by the AAA Lien and (c) the trailers

      which were supposedly sold to Steffensen as alleged above.

58.   Approximately two months ago, Steffensen met with Scott Williams at the

      old "Hugh's RV" business site. Scott informed Steffensen that the Estate

      was in the process oftrying to sell that property (the old "Hugh's RV"

      business site) and negotiating a settlement with Hugh Williams' spouse.

59.   Steffensen told Scott that Williams owed AAA/ Steffensen a lot ofmoney

      and that Steffensen was trying to get a settlement agreement with Williams.

60.   Steffensen asked when the sale ofthe property was scheduled. Scott told

      Steffensen it was scheduled for June 19, 2019.

61.   Steffensen asked Scott not to distribute Williams' share until Steffensen

      could either get a settlement agreement with Williams or a court order

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      freezing the funds. Scott said he would do so.

62.   On or about June 18, 2019, Steffensen talked to Scott and asked ifthe sale

      ofthe property was on. Scott said that he thought so. Steffensen said he was

      emailing Williams trying to get a settlement agreement worked out, but

      Williams was ignoring Steffensen.

63.   Steffensen again asked Scott not to distribute Williams' share ofthe

      inheritance until Steffensen had a settlement agreement with Williams or a

      court order freezing Williams' share. Scott again agreed and represented to

      Steffensen that he would do so.

64.   The next week, Steffensen again talked to Scott and was informed that the

      property had sold but that Scott was still working out how and when

      disbursements would be made. Steffensen again asked Scott not to

      distribute Williams' share ofthe inheritance until Steffensen had a

      settlement agreement with Williams or a court order freezing Williams'

      share. Scott again agreed and represented to Steffensen that he would do so.

65.   During the prior 30 days, Steffensen had explained to Scott that Steffensen had a very

      unique opportunity to invest in a crypto currency offering at a substantially discounted

      price that would result in an almost immediate lOx gain, which would then go up an
      additional 5x - for a total projected gain of50x.

66.   Steffensen told Scott that Steffensen was going to use the settlement proceeds from
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      Williams to make this investment. Scott knew, therefore, that Steffensen would be

      damaged by being unable to make this investment if Scott failed to fulfil his promise and

      obligation not to distribute Williams' share ofthe Estate until either a settlement had been

      reached or Steffensen had obtained a court order freezing the funds.

67.   Steffensen offered to both Williams and Scott the opportunity to also invest in this crypto

      currency at the same advantageous rate. By doing so, Williams was projected to eam a

      multiple ofthe entire amount he expected to get from the Estate. It was projected to be

      more than a "win-win" for all concemed.

68.   In these conversations with Scott, Steffensen said that he did not want to file suit against

      Williams ifhe didn't have to and was delaying in an effort to get a consensual settlement

      agreement. Scott offered to talk to Williams and to encourage him to settle. Steffensen

      delayed filing suit and seeking a prejudgment writ in reliance upon Scott's representations

      and agreements referred to above.

69.   On Thursday, July 27, 2019, Steffensen talked to Scott and said that Williams had still

      not retumed any of Steffensen's calls, emails or texts. Scott said that the disbursements

      had not been made yet. Steffensen told Scott that Steffensen would file suit and get an

      order freezing Williams' distribution and asked Scott not to distribute to Williams until

      the order could be obtained. Scott again agreed and said he would not.

70.   On the next day, Friday, June 28, 2019, Steffensen filed this lawsuit and a motion for

      prejudgment writ of gamishment.

71.   Steffensen emailed copies of the lawsuit, motion for prejudgment writ of gamishment and

      order granting motion for prejudgment writ ofgamishment to Scott and asked Scott to


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      call Steffensen.

72.   Steffensen fmally reached Scott late Monday, July 1, 2019. Scott told Steffensen that

      Scott had already made the distribution to Williams. Steffensen was stunned and furious.

      Scott said that he made the distribution despite his promises and representations to

      Steffensen because he supposedly didn't know that Williams owed AAA/ Steffensen
      "that much money," and because Williams told Scott that Williams would "take care of'

      AAA7 Steffensen.

73.   Upon information and belief, Scott had told Williams that Steffensen was going to file a

      lawsuit and get an order freezing Williams' inheritance ifWilliams did not settle.

      Williams asked Scott to deliberately mislead Steffensen so that Steffensen would not file

      the lawsuit and stop the disbursement ofthe inheritance. Scott agreed to help Williams by

      making Steffensen believe that the distribution had not taken place and would not until

      Steffensen filed this lawsuit and obtained the prejudgment writ of gamishment. Scott did

      not disclose this to Steffensen but rather knowingly and intentionally lied to Steffensen in

      order to help Williams escape to Africa with his inheritance.

74.   Steffensen then moved for an obtained a TRO barring Williams from spending the Estate

      money.

75.   Steffensen asked Scott to stop payment on the cashier's check given to Williams. Ifthe

      check had not yet been cashed, then technically the money was still under the Estate's

      control and the Estate was required by the Prejudgment Writ of Gamishment to stop

      payment.

76.   Scott then told Steffensen that the bank told Scott that Williams had immediately cashed


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      the cashier's check and gotten back several cashier's checks in exchange.

77.   Steffensen then emailed Scott and asked for the name ofthe bank. Scott never

      responded.

78.   Upon information and belief, Scott and the Estate still had possession ofand/or control

      over the funds which constituted Williams' share ofthe inheritance. Scott and the Estate

      should have frozen those funds pursuant to the issued prejudgment writ of gamishment.

      They failed to do so, however. As a result, they are liable to plaintiffs for not complying

      with the prejudgment writ of gamishment.

79.   On Thursday night, July 10, 2019,Williams sent Steffensen a text stating that the ER.S was

      going to take all the money and that he could not give AAA/Steffensen any money.

80.   On Friday, July 11, 2019, Williams texted that he could pay $16,000 but no more because

      ofthe IRS. Steffensen texted back that it would need to be $30,000.

81.   Williams texted that he "didn't have it."

82.   Steffensen texted back "how close can you get to $30,000?"

83.   Williams texted back $23,000.

84.   Steffensen responded that if Williams could do $25,000, AAA/Steffensen would take it.

85.   Williams reiterated that the IRS was after him very aggressively and that he couldn't do

      it.

86.   Williams then texted - during the hearing on the TRO - that he had a check at his

      attomey's office for "23,668.00."

87.   Steffensen went to Theodore Kanell's office and leamed that a cashier's check made

      payable to Steffensen for $25,000 was there and had been delivered to Kanell on July 8,


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      2019.

88.   AAA/Steffensen agreed to settle for this $25,000 - less $500 to be paid to Kanell.

89.   After the agreement was signed, Kanell told Steffensen that Williams was in Africa and

      had been "for some time."

90.   Kanell told Steffensen that "some one else" - other than Williams - had delivered the

      $25,000 check to Kanell's office.

91.   Kanell told Steffensen that he was not actually Williams' attomey, but rather was Scott

      Williams' and the Estate's attomey.

92.   From the foregoing, it is clear that:

      a.      Williams' representations about inability to pay AAA/ Steffensen were almost

              certainly false and fraudulent;

      b.      Williams' representation that he only had $23,668.00 to pay Steffensen was

              knowingly false because the actual check to Steffensen had already been made for

              $25,000.

      c.      Scott Williams was almost certainly the "other person" who delivered the $25,000

              check to the Estate's attomey, Kanell, for Steffensen.

      d.      Scott is also almost certainly in control of all or a significant portion ofthe rest of

              Williams' inheritance from the Estate.

93.   Scott is liable personally, and as tmstee/ personal representative ofthe Estate, to AAA

      and Steffensen for the damages suffered by AAA and Steffensen as a result of Scott's

      multiple fraudulent and negligent representations that Scott would not distribute

      Williams' share ofthe Estate until a settlement with Williams or a court order freezing


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      Williams' inheritance had been obtained; and as a result ofScott and the Estate not

      complying with the prejudgment writ of gamishment.

94.   Plaintiffs reasonably relied upon these representations and promises in delaying to file

      their lawsuit - thinking that an amicable settlement could be reached - which would be

      preferable.

95.   Scott's misrepresentations caused plaintiffs to in fact delay fiiling this lawsuit and

      obtaining the prejudgment writ ofgamishment until after Scott disbursed Williams' share

      ofthe Estate.

96.   Scott, therefore, aided and abetted Williams in Williams' ongoing attempts to defraud

      plaintiffs with impunity.

97.   Because of Scott's fraudulent and/or negligent misrepresentations and conspiracy with

      Williams to deprive plaintiffs of any realistic ability to collect the monies owed to them,

      and the failure of Scott and the Estate to comply with the prejudgment writ of

      gamishment, plaintiffs have been damaged as follows:

      a.     The loss ofrecovery ofthe entire amount due - $250,000 - less the $24,500

             actually received - or $225,500;

      b.     The loss ofthe investment retum on these funds - not less than lOx $225,500, or

             $2,255,000 - which investment Scott and the Estate knew that the plaintiffs

             intended to make with the funds recovered from Williams.

98.   Plaintiffs are entitled to judgment against Scott and the Estate for their damages as proven

      at trial, but not less than $2,255,000, plus costs ofsuit and attomeys' fees.

      Now, therefore, Plaintiffs pray for reliefas follows:


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1.     Forjudgment against the Williams, Cut USA and Williams General, Inc., jointly

       and severally, for the amount ofmonies owed for legal fees, costs advanced and

       other monies advanced, in amounts to be determined at trial, but notless than

       $200,000.00, plus interest thereon at 10% per annum, plus costs ofsuit, attomeys

       fees, and exemplary damages in an amount to be determined at trial but not less

       than three times actual damages - but which reliefhas been waived via the

       settlement agreement (unless it tums out that said agreement was obtained by

       knowing and actual fraud in the inducement).

2.     AAA is entitled to an order declaring that its AAA Lien is valid and enforceable

       against the property named therein - again waived unless revived hereafter due to

       fraud in the inducement.

3.     AAA and Steffensen are entitled to an order declaring that they have an equitable

       lien against any and all real property owned by Williams, directly or indirectly, in

       Africa to secure the repayment of the funds owed - again waived unless revived

       hereafter due to fraud in the inducement.

4.     AAA and Steffensen are entitled to prejudgment writs ofattachment and/or

       gamishment with respect to:

               (a)     Williams' anticipated inheritance from the Estate ofHugh

                      Williams (Scott Williams tmstee/ personal representative),

               (b)     All personal property covered by the AAA Lien and

              ( c)    The trailers which were supposedly sold to Steffensen as alleged

                      above.;


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       again, waived unless hereafter revived due to fraud in the inducement.

5.     Forjudgment against Scott Williams and the Estate ofHugh Williams, jointly and

       severally, for the damages suffered byplaintiffs as a result ofthe fraudulent and/or

       negligent misrepresentations made to plaintiffs, and as a result oftheir failure to

       comply with the prejudgment writ ofgamishment and the TRO, in an amount to

       be determined at trial, but not less than $2,255,00.00; plus costs ofsuit and

       attomeys' fees.

6.     For such other relief as the Court deems just and appropriate under the

       circumstances.

Dated this 17th day ofJuly, 2019.

                                                      /s/ Brian W. Steffensen




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